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  8
  9                        UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
12                                              ) Case No.: 2:14-cv-05021-MRW
      MARTY FREYWALD,                           )
13                                              )
                     Plaintiff,                 ) NOTICE OF SETTLEMENT
14                                              )
            vs.                                 ) OF ENTIRE CASE
15                                              )
                                                )
16    CAPITAL ONE NA                            )
                                                )
17                                              )
                                                )
18                    Defendants.               )
                                                )
19                                              )
                                                )
20    TO THE COURT:
21          Plaintiff hereby submits this Notice of Settlement to notify the Court
22    that the lawsuit has been settled and to request 45 days in which to file the
23    dismissal.
24
25    Dated: August 26, 2014                    CROWLEY LAW GROUP
26
                                                 s/Andre L. Verdun
27                                              ANDRE L. VERDUN
28                                              Attorney for Plaintiff,
                                            - 1 MARTY FREYWALD
                     NOTICE OF SETTLEMENT OF ENTIRE CASE
      FREYWALD v. CAPITAL ONE                                             14-5021
